                       Case 8:20-bk-04781-MGW                    Doc 11       Filed 06/25/20          Page 1 of 3
                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 20-04781-MGW
Marilyn Haines                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-8                  User: arciolap                     Page 1 of 1                          Date Rcvd: Jun 23, 2020
                                      Form ID: Dntcdfnc                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 25, 2020.
db            #+Marilyn Haines,   218 Magnolia Lane,   Tampa, FL 33610-9648

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 25, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 23, 2020 at the address(es) listed below:
              Amber C Robinson    on behalf of Debtor Marilyn Haines arobinson@arobinsonlawfirm.com
              Stephen L Meininger    SLMeininger@earthlink.net, smeininger@ecf.epiqsystems.com;FL38@ecfcbis.com
              United States Trustee - JAX 13/7    USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 3
                       Case 8:20-bk-04781-MGW                Doc 11   Filed 06/25/20        Page 2 of 3
[Dntcdfnc] [District Notice Deficient Filing New Case]



                                                  UNITED STATES BANKRUPTCY COURT
                                                     MIDDLE DISTRICT OF FLORIDA
                                                           TAMPA DIVISION
                                                          www.flmb.uscourts.gov



In re:                                                                         Case No. 8:20−bk−04781−MGW
                                                                               Chapter 7
Marilyn Haines



________Debtor*________/



                                       NOTICE OF INCOMPLETE AND/OR DEFICIENT FILING
                                          AND OPPORTUNITY TO CURE DEFICIENCIES

    On June 21, 2020 the above named Debtor filed a Voluntary Petition under Chapter 7 of the Bankruptcy Code.
The clerk has noted deficiencies to the petition, schedules and/or other filed papers of this Debtor. The Debtor is
provided an opportunity to cure the deficiencies within the time set forth herein. All deadlines run from the original
petition file date unless otherwise noted. This case may be dismissed without further notice or hearing if the Debtor
fails to timely correct the noted deficiency.

   Due to the impact of the Coronavirus, at this time the filing windows at the Courthouses are CLOSED. Debtors
who are not represented by an attorney shall cure deficiencies by filing the required papers with the Court by email,
facsimile ("fax"), U.S. Mail, or other delivery. Debtors are strongly encouraged to file by email as there may be
delays in the Court's processing of papers received by fax, U.S. Mail, or other delivery.
Debtors may file papers in Tampa and Ft. Myers cases at the following addresses. If papers are filed by email or fax,
Debtor must also mail the papers to the Courthouse.

flmb−intake−tampa−ft−myers@flmb.uscourts.gov
(Fax) 813−301−5192
U.S. Bankruptcy Court
801 North Florida Avenue
Suite 555
Tampa, FL 33602

           Summary of Your Assets and Liabilities (forms 106 for individuals or 206 for non−individuals) were
           not filed.
           Pursuant to Fed. R. Bankr. P. 1007(b) and (c), the Debtor is directed to file the missing items with
           proper declaration of the Debtor no later than 14 days from the date the petition was filed.

           A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           If additional creditors not initially provided with the Petition are added on the Schedules, the Debtor
           is directed to include $31.00 amendment fee and provide proof of service of the Notice of Chapter 7
           Bankruptcy Case to each additional creditor.

           The Debtor's attorney failed to upload creditors during the filing process. The Notice of Chapter 7
           Bankruptcy Case will exclude the creditors, and therefore, their debts may not be dischargeable.
           Creditors shall be uploaded within three days of receipt of this notice. The Debtor's attorney is also
           directed to serve a copy of the Notice of Chapter 7 Bankruptcy Case that contains the full social
           security number of the Debtor upon all creditors and file proof of service of the notice. The social
           security number must be redacted on the proof of service or its attachments filed with the Court.
         Case 8:20-bk-04781-MGW                 Doc 11      Filed 06/25/20        Page 3 of 3
A Statement of Intentions for Individuals Filing Under Chapter 7 was not signed, not filed, or filed
on an outdated form. Pursuant to Fed. R. Bankr. P. 1007(b)(2) and 11 U.S.C § 521(a)(2)A), the
Debtor is directed to file a Statement of Intentions for Individuals Filing Under Chapter 7 (Official
Form B108), signed under penalty of perjury within 30 days. A link to updated forms is available on
the Court's website at http://www.flmb.uscourts.gov/forms/.

The Debtor shall pay unpaid filing fees in the amount of $ 335.00 within seven days from the date of
service of this notice. Payment shall be made by cashier’s check or money order payable to Clerk,
U.S. Bankruptcy Court at the address indicated below. The Voluntary Petition was filed without full
payment of the required filing fee. In addition, the Debtor has not filed an application seeking
approval to pay the filing fee in installments, or an application requesting to proceed in forma
pauperis. (for Chapter 7 cases only)



                                        FOR THE COURT
 Dated: June 23, 2020                   Sheryl L. Loesch , Clerk of Court
                                        Sam M. Gibbons United States Courthouse
                                        801 North Florida Avenue, Suite 555
                                        Tampa, FL 33602


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
